Case 9:19-bk-11573-MB    Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12             Desc
                          Main Document    Page 1 of 39



1 ERIC P. ISRAEL (State Bar No. 132426)
  eisrael@dgdk.com
2 JOHN N. TEDFORD,IV (State Bar No. 205537)
  jtedford@dgdk.com
3 DAMNING, GILL, DIAMOND & KOLLITZ, LLP
   1901 Avenue of the Stars, Suite 450
4 Los Angeles, California 90067-6006
   Telephone:(310)277-0077
5 Facsimile:(310)277-5735

6 Proposed Attorneys for Michael A. McConnell,
  Chapter 11 Trustee
7

8                         UNITED STATES BANKRUPTCY COURT

9                          CENTRAL DISTRICT OF CALIFORNIA

10                                 NORTHERN DIVISION

11

12                                               Case No. 9:19-bk-11573-MB

13                                               Chapter 11

14                                                NOTICE OF MOTION AND TRUSTEE'S
                                                  EMERGENCY MOTION FOR
15                                               (1) AUTHORITY TO ACCEPT A
                                                 PARTIAL PREPAYMENT OF THE
16                                                AMOUNT OWED BY CALIFORNIA
                                                  ASPHALT PRODUCTION,INC.,TO THE
17                                                ESTATE,OR IN THE ALTERNATIVE
                                                  FOR AUTHORITY TO OBTAIN
18                                               "CREDIT" IN THE FORM OF SUCH
                                                  PREPAYMENT,AND (2) WAIVER OF
19                                                ANY STAY IMPOSED BY FRBP 6004(h);
                                                  AND MEMORANDUM OF POINTS AND
20                                                AUTHORITIES,DECLARATION OF TIM
                                                  SKILLMAN,AND REQUEST FOR
21                                                JUDICIAL NOTICE IN SUPPORT
                                                  THEREOF
22
                                                 Date:    October 25, 2019
23                                               Time:    9:00 a.m.
                                                 Place:   Courtroom 303
24                                                        21041 Burbank Blvd.
                                                          Woodland Hills, California
25
                                                                   !
                                                                   ~
26
                                                          Courtroom 201
27                                                        1415 State Street
                                                          Santa Barbara, California
28
     1564242.1 26932
Case 9:19-bk-11573-MB            Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12               Desc
                                  Main Document    Page 2 of 39



 1           PLEASE TAKE NOTICE that on October 25,2019, at 9:00 a.m., in Courtroom 303 of

2 the U.S. Bankruptcy Court for the Central District of California located at 21041 Burbank

 3 Boulevard, Woodland Hills, California, and by video available in Courtroom 201 of the U.S.

4 Bankruptcy Court for the Central District of California located at 1415 State Street, Santa Barbara,

 5 California, Michael A. McConnell, the chapter 11 trustee (the "Trustee")for the estate of HVI Cat

6 Canyon, Inc.(the "Debtor"), will and does hereby move the Court, on an emergency basis, for an

 7 order authorizing the Trustee to accept a partial prepayment of the amounts that will be owed by

 8 one of the Debtor's affiliates, California Asphalt Production, Inc.("CAP"), for delivery of product

G that accrued, and continue to accrue, during the month of October 2019. If the Court deems the
]

10 I prepayment to constitute "credit," the Trustee requests that the Court authorize the Trustee to

1 1 obtain such credit. The Trustee also requests that the Court waive any stay that may apply to the

12 enforcement ofthe Court's order. The Trustee requests that the Court enter an order substantially

13 in the form ofthe order attached as Exhibit "1"hereto.

14           PLEASE TAKE FURTHER NOTICE that this motion has been filed on an emergency

15 basis because the Trustee needs the funds to pay payroll on October 25, 2019, and to pay certain

16 other expenses on October 25 or as soon thereafter as possible.

17           PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9075-1, a hearing on this

18 motion is set for October 25,2019, at 9:00 a.m. In accordance with the Court's instructions given

19 to the Trustee's counsel:

20           •         This motion has been filed on or before noon on October 24, 2019.

21           •         Telephonic notice of the hearing on this motion will be given to counsel for the
                       following by 1:00 p.m. on October 24, 2019:
22
                       •      the Debtor;
23                     •      the Official Committee of Unsecured Creditors (the "Committee");
                       •      UBS AG,London Branch("UBS");
24                     •      County of Santa Barbara, California("Santa Barbara");
                       •      California State Lands Commission;
25                     •      Buganko, LLC;
                       •      GIT,Inc.("GIT");
26                     •      the Office of the United States Trustee; and
                       •      parties that have requested special notice.
27

28

     1564242.1 26932                                      1
Case 9:19-bk-11573-MB            Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                Desc
                                  Main Document    Page 3 of 39



 1             PLEASE TAKE FURTHER NOTICE that oppositions to this motion, or to the setting of

2 the hearing on this motion on an emergency basis, may be presented orally at the hearing. Parties

 3 wishing to submit written oppositions must do so by no later than 9:00 a.m. on October 25, 2019.

4 If you do not have any objection to this motion, you need not take any further action.

 S

6                                        Summary of Relief Requested

 7             The Trustee's motion may be summarized as follows: On October 8, 2019, the Court

 8 entered its most recent order authorizing the Debtor to use cash collateral (the "Cash Collateral

9 Order").1 The order was entered with the express consent of UBS,the Debtor, the Committee,

10 GIT, and Harry E. Hagen as Treasurer-Tax Collector of the County of Santa Barbara, California.

11     One of the goals of the order was to provide for the use of cash collateral by a chapter 11 trustee if

12 the Court were to order the appointment of a trustee at an upcoming hearing. The Court did order

13 that a trustee be appointed, and Michael A. McConnell was just appointed as the chapter 11 trustee.

14             Although the Trustee has authority to use cash collateral, the Trustee discovered that the

15 estate has insufficient cash to pay payroll and related expenses that must be paid on Friday,

16 October 25, 2019. The Trustee has about $18,000 of available cash on hand, and needs

17 approximately $113,000 to pay employees and related expenses, including payroll taxes. The

18 Trustee also needs about $146,000 to pay royalties that are supposed to be paid on about October

19 25, plus $71,500 to pay other necessary expenses.

20             Given the short time frame, the Trustee is unable to borrow the necessary funds from UBS

21 or any other source. As a result, at the Trustee's request, one of the Debtor's affiliates, California

22 Asphalt Productions, Inc.("CAP"), has agreed to partially prepay amounts that CAP is not actually

23 required to pay until November 25, 2019. CAP will prepay approximately $332,000, which will

24 provide the Trustee the cash he needs to make the payments identified on Exhibit "2" to the

25

~~

27 I
       1 Docket no. 375. A copy of the Cash Collateral Order is attached as Exhibit "3" to the Request
28 for Judicial Notice.

       1564242.1 26932                                    2
Case 9:19-bk-11573-MB            Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12              Desc
                                  Main Document    Page 4 of 39



 1 ~ Declaration of Tim Skillman. (As of the time of filing of this motion, the money had not yet been

2 ~ received from CAP.)

3            To be clear: The October 8 order already authorizes the Trustee to use cash collateral to

4 pay these expenses. The Trustee simply needs an infusion of cash to do so. The Trustee therefore

     seeks authority to accept CAP's partial prepayment.

             The Trustee believes that his acceptance of the partial prepayment falls within the ordinary

     course of the Debtor's business. However, out of an abundance of caution, the Trustee requests

     authority, pursuant to 11 U.S.C. § 363(b) and (c), to accept the prepayment and use the funds in

 'r•: accordance with the Cash Collateral Order.

10           The Trustee does not believe that the partial prepayment qualifies as "credit" for purposes

1 1 of§ 364. However, if the Court deems the prepayment to constitute "credit," the Trustee requests

12 authority, pursuant to 11 U.S.C. § 364, for authority to obtain such "credit."

13           In accordance with Federal Rule of Bankruptcy Procedure 4001(c)(1)(A), the Debtor's

14 proposed form of order is attached as Exhibit "1"hereto. There is no written agreement with CAP

15 regarding its partial prepayment.

16           In accordance with Federal Rule of Bankruptcy Procedure 4001(c)(1)(B) and other

17 applicable rules, the following table summarizes the significant terms of the proposed "credit" and

18 the proposed order:2

19                     Material Term or Type of Provision          Summary of         Location in
                                                                   Provisions)          Order
20
             Amount                                              Appx. $332,000           ¶2
21
             Interest rate                                       None.                    N/A
22
             Maturity date                                       None.                    N/A
23
             Events of default                                   None.                    N/A
24
             A grant of priority or a lien on property of the    None.                    N/A
25           estate under § 364(c) or(d)
26
       Because this table is provided, the Trustee requests that the Court waive the requirement in
27
   LBR 4001-2 that the Trustee file a separate Statement Regarding Cash Collateral or Debtor in
28 Possession Financing.

     1564242.1 26932                                    3
Case 9:19-bk-11573-MB              Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12        Desc
                                    Main Document    Page 5 of 39



 1                      Material Term or Type of Provision          Summary of    Location in
                                                                    Provisions)     Order
2
             The providing of adequate protection or priority      None.             N/A
 3           for a claim that arose before the commencement
             ofthe case or the use of property ofthe estate or
4            credit obtained under § 364 to make cash
             payments on account ofthe claim
5
             Cross-collateralization — i.e., clauses that secure   None.             N/A
6            prepetition debt by postpetition assets in which
             the secured party would not otherwise have a
7            security interest by virtue of its prepetition
             security agreement or applicable law
8
             Roll-up — i.e., provisions deeming prepetition        None.             N/A
9            debt to be postpetition debt or using postpetition
             loans from a prepetition secured party to pay
10           part or all of that secured party's prepetition
             debt, other than as provided in § 552(b)
11
              Grant a replacement lien in an amount in excess None.                  N/A
12            ofthe dollar amount ofthe lien on cash collateral
              as ofthe petition date
13
              A determination ofthe validity, enforceability,      None.             N/A
14            priority, or amount of a claim that arose before
              the commencement ofthe case, or of any lien
15            security the claim
16            A waiver or modification of Code provisions or       None.             N/A
              applicable rules relating to the automatic stay
17
              Automatic relieffrom the automatic stay upon         None.             N/A
18            occurrence of certain events
19            A waiver or modification of any entity's             None.             N/A
              authority or right to file a plan, seek an extension
20            oftime in which the debtor has the exclusive
              right to file a plan, request the use of cash
21            collateral under § 363(c), or request authority to
              obtain credit under § 364
22
              The establishment of deadlines for filing a plan     None              N/A
23            ofreorganization, for approval of a disclosure
              statement, for a hearing on confirmation, or for
24            entry of a confirmation order
25                                                                                   N/A
              A waiver or modification ofthe applicability of      None
              nonbankruptcy law relating to the perfection of a
26            lien on property ofthe estate, or on the
              foreclosure or other enforcement ofthe lien
27

28

     1 564242.1 26932
                                                         n
                                                         ~Y
Case 9:19-bk-11573-MB          Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12              Desc
                                Main Document    Page 6 of 39



 1                 Material Term or Type of Provision             Summary of       Location in
                                                                  Provisions)        Order
2
             A release, waiver, or limitation on any claim or    None                  N/A
3            other cause of action belonging to the estate or
             the trustee, including any modification of the
4            statute of limitations or other deadline to
             commence an action
 5
             The indemnification of any entity                   None                  N/A
6
             A release, waiver, or limitation of any right       None                  N/A
 7           under § 506(c)
 8           The granting of any lien on any claim or cause      None                  N/A
             of action arising under § 506(c)
 9
             The granting of a lien on any claim or cause of     None                  N/A
10           action arising under §§ 544, 1 545, 547, 548,
             549, 553(b), 723(a), or 724(a)
11
             With respect to a professional fee carve out,       None                  N/A
12           disparate treatment for professionals retained by
             a creditors' committee from that provided for the
13           professionals retained by the debtor
14           Pay down prepetition principal owed to a            None                  N/A
             creditor
15
             Findings of fact on matters extraneous to the       None                  N/A
16           approval process
17

18           The Trustee's motion is based upon this notice and motion, the accompanying
19 Memorandum of Points and Authorities, Declaration of Tim Skillman, and Request for Judicial

20 Notice, the separate proof of telephonic notice ofthe hearing, the papers and pleadings on file in

21 this case, and such other evidence as may be presented to the Court.

22

23 DATED: October 24, 2019                       DAMNING, GILL, DIAMOND & KOLLITZ, LLP
24

25
                                                 BY~         /s/John N. Tedford, IV
26                                                     JOHN N. TEDFORD,IV
                                                       Proposed Attorneys for Michael A. McConnell,
27
                                                       Chapter 11 Trustee
28

     1564242.1 26932                                    5
Case 9:19-bk-11573-MB            Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12               Desc
                                  Main Document    Page 7 of 39



 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2

 3                                                       I.

 4                                             INTRODUCTION

 5             Only three days ago, Michael A. McConnell accepted appointment as the chapter 11 trustee

 6 (the "Trustee") for the estate of HVI Cat Canyon, Inc.(the "Debtor"). Based on his investigation

 7 thus far, the Trustee has learned that the estate has approximately $18,000 of available cash on

 8 hand. This is substantially less than the Debtor projected to have in its most recent cash collateral

 9 budget.3 The Trustee will be investigating the reasons for the shortfall.

10             In the meantime, the Trustee needs cash to make certain payments that were included in the

1 1 approved cash collateral budget. Especially, the Trustee needs to fund the payroll that must be paid

12 on October 25, 2019. The budgeted items that the Trustee believes he should pay on October 25,

13 or as soon thereafter as possible, are identified in Exhibit "2" to the Declaration of Tim Skillman.

14             One of the Debtor's primary sources of revenue is one of its affiliates, California Asphalt

15 Production ("CAP"). The Debtor and CAP are parties to multiple agreements, including a Waste

16 Gas Handling Agreement. Under that agreement(and possibly other agreements), CAP is required

17 to make payments to the Debtor on or before the 25th day of each month for charges that accrued

18 during the immediately preceding month. Thus, on or before November 25, 2019, CAP is required

19 to pay charges that have accrued (and are accruing) during October 2019. Based on the limited

20 investigation that the Trustee has been able to conduct thus far, the Trustee believes that the total

21 amount that will be owed by CAP for October 2019 will be $1.5 million to $2 million.

22             To allow the Trustee to pay the payroll and certain other budgeted items, CAP has agreed to ~

23 prepay a portion ofthe amount CAP will owe for charges accrued (and accruing) in October 2019.

24 Specifically, CAP will prepay the amount needed for the Trustee to pay the $331,000 of expenses

25 listed in Exhibit "2" to Mr. Skillman's declaration. (As of the time of filing of this motion, the

26 money had not yet been received from CAP.)

27

28 I       3 See Docket no. 375 (Agreed Orderfor Consensual Use ofCash Collateral. Exhibit "3".

       1564242.1 26932                                   D
Case 9:19-bk-11573-MB             Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                 Desc
                                   Main Document    Page 8 of 39



 1              Out of an abundance of caution, because this arrangement may not be strictly within the

 2 ordinary course of the Debtor's business, the Trustee is seeking authority to accept the prepayment

 3 and use the funds to pay the budgeted items consistent with the Court's prior grant of authority to

 4 use cash collateral. Also out of an abundance of caution, if the Court considers this arrangement to

 5 be a credit transaction, the Trustee is seeking authority to obtain the "credit" under 11 U.S.C.

 6 § 364. Either way, so that the Trustee can pay the payroll and other expenses immediately, the

 7 Trustee is requesting that the Court waive any applicable stay.

 8

]
G                                                         II.

l0 l                                        STATEMENT OF FACTS

1 1 A.         OVERVIEW AND HISTORY OF THE DEBTOR'S BUSINESS

12             The Debtor is a Colorado corporation authorized to conduct business in the state of

13 California. It is the owner and operator of producing oil and gas interests in California. According

14 to the Debtor, it "owns an approximately 100% working interest and an average 85%net revenue

15 interest in several oilfields in the Santa Maria Valley of Santa Barbara County, North Belridge in

16 Kern County, and Richfield East Dome Unit in Orange County."4

17             Prior to the Petition Date, the Debtor engaged in transactions with certain of its affiliates,

18 including CAP. The Debtor has described its transactions with CAP accordingly:

19                       Debtor has multiple agreements with [CAP] pursuant to which CAP
                         agrees to purchase from Debtor: Crude, handle waste gas, process
20                       BS&W Excess and/or Cold Oil and Debtor agrees to purchase Light
                         Crude and Hot Loads, as such terms are defined and described in the
21                       operative agreements (collectively, the "CAP Agreements") annexed
                         hereto as Exhibit D.5
22

23 At least one of those agreements provides as follows:

24                             [CAP] shall pay [the Debtor] . . .for all Waste Gas delivered
                         to [CAP] at the Point of Delivery and metered by [CAP], payable
25                       monthly, on or before the 25th day of each month ("Due Date")

26
           4 Docket no. 16, pp. 1-2, ¶ 2.
27
           5 Docket no. 16, p. 5, ¶ 13.
28

       1564242.1 26932                                    7
Case 9:19-bk-11573-MB             Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12              Desc
                                   Main Document    Page 9 of 39



 1                      following receipt ofan invoice or such other documentation acceptable
                        to the Parties for the amounts which accrued during the immediate
 2                      preceding calendar month.....

 3            On October 23, 2019, the Trustee and his agents met with principals of the debtor (Ernesto

 4 Olivares and Alex Dimitrijevic). Mr. Olivares, the Debtor's Chief Financial Officer, advised that

 5 (1) no additional sum was due to the Debtor on October 25, 2019, notwithstanding that the cash

 6 collateral budget projected that approximately $1 million would be received this week, (2)the

 7 absolutely necessary expenses which had to be paid on October 25, 2019 aggregate $331,339,

 8 including payroll and payroll taxes, and royalties, and (3)CAP will owe the estate for the month of

 9 October 2019 between $1.5 million and $2 million. Whatever the amount, the Debtor's principals

10 advised that that CAP's payment is not required until November 25, 2019.

11

12 B.         THE DEBTOR'S BANKRUPTCY FILING AND THE TRUSTEE'S APPOINTMENT

13            On July 25, 2019(the "Petition Date"), the Debtor filed a voluntary petition for relief under

14 chapter 11 of title 11 of the United States Code (the "Code"). The case was originally filed in the

15 Southern District of New York. It was transferred to the Northern District of Texas, and then later

16 to the Central District of California.

17            The Debtor initially operated its business as a "debtor in possession," allowing it to exercise

18 substantially all rights of a trustee in the bankruptcy case. On or about October 16, 2019, the Court

19 entered its AgNeed Order Granting Motionfor Appointment ofa Chapter 11 Trustee. On or about

20 October 22, 2019, the Court approved the appointment of Michael A. McConnell as the chapter 11

21 trustee in this case.

22

23

24

25

26
         6 Docket no. 16-4, p. 17 of 51, ¶ 4(a).
27
         ~ See Exhibit "3" to the Request for Judicial Notice.
28

     1 564242.I 26932                                     E'?
Case 9:19-bk-11573-MB             Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12               Desc
                                  Main Document     Page 10 of 39



     C.      THE MOST RECENT ORDER AUTHORIZING USE OF CASH COLLATERAL

 2           On or about October 8, 2019, the Court entered its Agreed Orderfor Consensual Use of

 3 Cash Collateral(the "Cash Collateral Order").8 A copy of the Cash Collateral Order is attached as

 4 Exhibit "3" to the Request for Judicial Notice. The Cash Collateral Order provided, in relevant

 5 part, as follows:

 6           •          The Debtor was authorized to use Cash Collateral to pay ordinary course operating
                        expenses in accordance with a budget that was attached to the Cash Collateral Order
 7                     (the "Approved Budget").

 8           •         Without a court order or written consent of UBS and Santa Barbara, the Debtor was
                       not authorized to make "any royalty payments or surface lease payments to insiders
 9                     or affiliates of the Debtor." The Debtor was required to hold such payments in an
                       interest-bearing escrow or segregated account.
10
                       SubJ'ect to certain conditions (including the consent of the Committee and Santa
11                     Barbara), UBS may, by written agreement, amend the Approved Budget to extend
                       the date through which Cash Collateral may be used and to increase the amount of
12                     Cash Collateral that may be used thereunder.

13           •         "[T]he Trustee is specifically authorized to use Cash Collateral pursuant to the
                       terms" of the Cash Collateral Order.
14

15 D.        THE TRUSTEE'S CRITICAL NEED FOR CASH TO PAY CERTAIN ITEMS IN

16           THE APPROVED BUDGET,AND CAP'S AGREEMENT TO PARTIALLY

17           PREPAY FOR CHARGES ACCRUED(AND ACCRUING)IN OCTOBER 2019

18           Although the Trustee has the authority to use cash collateral to pay the budgeted items, he

19 does not have the cash. In the coming weeks and months, the Trustee hopes to work with UBS and

20 others to address the Debtor's cash flow issues. The Trustee will also investigate the reasons for

21   the significant disparity between the revenue projection in the cash collateral budget and what the

22 Debtor's officers provided to him on October 23, 2019.

23           In the meantime, the Trustee needs cash to meet the October 25 payroll and pay certain

24 ~I other expenses that the Trustee and his proposed CRO have identified as high-priority items. The

25 Trustee inquired whether UBS could loan the necessary funds, but it is logistically impossible for

26 UBS to agree to such a loan, and for the Trustee to file a timely motion for approval of such a loan,

27

28        g Docket no. 375 (Exhibit "3").

     1564242.1 26932                                      9
Case 9:19-bk-11573-MB          Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                 Desc
                               Main Document     Page 11 of 39



 1 ~ in such a short time frame. At the Trustee's request, CAP has agreed to partially prepay amounts

 2 that CAP will owe for October 2019, which would not normally be paid for another three or four

 3 ~ weeks. This will enable the Trustee to pay the necessary expenses when due.

 4           To reiterate: All ofthe expenses that the Trustee intends to pay now were included in the

 5 Approved Budget. A comparison of the Approved Budget and the list of payments that the Trustee

 6 intends to make immediately using the funds received from CAP is attached as Exhibit "2" to Mr.

 7 Skillman's declaration. In addition, the Trustee is not waiving rights to against any parties for the

 8 shortfalls in revenues which were due on October 25, 2019 as projected in the cash collateral

 9 budget.

10

11                                                     III.

12                                               ARGUMENT

13 A.        THE COURT SHOULD AUTHORIZE THE TRUSTEE TO ACCEPT THE

14           PARTIAL PREPAYMENT FROM CAP

15           Unless the court, on request of a party in interest and after notice and hearing, orders

16 otherwise, a chapter 11 trustee may operate a debtor's business. 11 U.S.C. § 1108. If the debtor's 'i

17 business is authorized to be operated under § 1108, and unless the court orders otherwise, a trustee

18 may enter into transactions in the ordinary course of business, without notice or a hearing, and may

19 use property of the estate in the ordinary course of business without notice of a hearing. 11 U.S.C.

20 § 363(c)(1). However, a trustee may not use cash collateral unless each party that has an interest in

21   such cash collateral consents, or the court authorizes such use. 11 U.S.C. § 363(c)(2). If a trustee

22 proposes to enter into transactions and/or use property of the estate outside of the ordinary course

23 of business, he or she may do so after notice and a hearing. 11 U.S.C. § 363(b).

24           In this case, the Trustee already has authority to operate the Debtor's business. The Trustee

25 believes that his agreement to accept a partial prepayment from CAP is within the ordinary course

26 of the Debtor's business since there appears to be no question that CAP will owe the estate at least

27 $1.5 million for October 2019. However,the Trustee recognizes that the partial payment is being

28 made by CAP before October concludes and before the customary invoices) and documentation is

     1564242.1 26932                                    10
Case 9:19-bk-11573-MB           Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12               Desc
                                Main Document     Page 12 of 39



 1 ~ provided to CAP. The Trustee also recognizes that CAP is an affiliate of the Debtor, subjecting the

 2 ~ transaction to a higher degree of scrutiny.

 3           For this reason, the Trustee requests that the Court expressly authorize the Trustee to accept

 4 a partial prepayment from CAP in an amount sufficient to cover the payments identified in Exhibit

 5 ~ "2" to Mr. Skillman's declaration, under the column heading "Reforecast Week 13."

 6

 7 ~ B.      IF THE COURT CONSIDERS THIS A CREDIT TRANSACTION,THE COURT

 8           SHOULD AUTHORIZE THE TRUSTEE TO OBTAIN CREDIT PURSUANT TO

 9            11 U.S.C. ~ 3G4

10           If the debtor's business is authorized to be operated under § 1108 and unless the court

11   orders otherwise, a trustee may obtain unsecured credit and incur unsecured debt in the ordinary

12 course of business, allowable as an administrative expense against the estate. 11 U.S.C. § 364(a).

13 After notice and a hearing, the court may authorize the trustee to obtain credit or incur unsecured

14 debt outside of the ordinary course of business. 11 U.S.C. § 364(b).

15           The Trustee does not believe that he is proposing a credit transaction. However, out of an

16 abundance of caution, if the Court concludes that the Trustee's acceptance offunds from CAP is a

17 credit transaction, the Trustee requests that it be approved and that the order provide that CAP's

18 extension of"credit" will reduce the amounts that CAP must pay the estate in the future for the

19 charges that accrue during October 2019.9

20           The Trustee's request will not prejudice any party in interest. The prepayment will not, in

21   any way, reduce the total amount that CAP must pay to the estate or release any claims for sums

22 actually still due or any improper setoffs. UBS's security interests (and any other parties' security

23 interests) will attach to CAP's prepayment if and to the same extent that they would attach to any

24 other receipt from CAP. The Court has already authorized cash collateral to be used in accordance

25 with the Approved Budget. Therefore, all of the parties with interests in the funds to be received

26
         9 Of course, CAP will still owe the estate for the balance of charges that accrue during October
27
      2019, and its partial prepayment will not any way affect other claims that the estate and CAP may
28 ~I have against each other.

     1564242.1 26932                                   11
Case 9:19-bk-11573-MB         Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                 Desc
                              Main Document     Page 13 of 39



 1 from CAP have either consented to the Trustee's use of revenues to pay the expenses, or the Court

 2 already has determined that they are adequately protected.

 3

 4 C.       THE COURT SHOULD WAIVE ANY STAY APPLICABLE UNDER FRBP 6004(h)

 5          Federal Rule of Bankruptcy Procedure 6004(h) provides than an order authorizing the use,

 6 sale, or lease of property other than cash collateral is stayed until the expiration of 14 days after

 7 , entry of the order, unless the court orders otherwise. So the Trustee may promptly pay payroll and

 8 other expenses identified in Exhibit "2" to Mr. Skillman's declaration, the Trustee requests that the

 9 Court's order provide that it is effective and immediately enforceable notwithstanding any potential

10 application of Rule 6004(h).

11

12                                                    IV.

13                                             CONCLUSION

14          For the reasons set forth above, the Court should authorize the Trustee to accept CAP's

15 partial prepayment of the amounts that will be owed by CAP for charges that have accrued, and

16 continue to accrue, during October 2019. If the Court deems the prepayment to constitute credit,

17 the Court should authorize the Trustee to obtain such credit. So that the Trustee may immediately

18 pay necessary expenses, the Court should waive any stay that may apply to the enforcement ofthe

19 Court's order. The Trustee requests that the Court enter an order substantially in the form of the

20 order attached as Exhibit "1"hereto.

21

22 DATED: October 24, 2019                      DAMNING, GILL, DIAMOND & KOLLITZ, LLP

23

24
                                                BY~         /s/John N. Tedford, IV
25                                                    JOHN N. TEDFORD,IV
                                                      Proposed Attorneys for Michael A. McConnell,
26                                                    Chapter 11 Trustee
27

28

     564242.1 26932                                    12
Case 9:19-bk-11573-MB            Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12               Desc
                                 Main Document     Page 14 of 39


 1                                  DECLARATION OF TIM SKILLMAN

 2

 3            I,Tim Skillman, declare and state as follows:

 4            1.       I have personal knowledge of each of the facts herein, except those set forth on

 5 ~ information and belief and, as to those matters, I believe them to be true. If called as a witness, I

 6 could and would testify competently with respect to such facts.

 7            2.       I am a partner at CR3 Partners, LLC ("CR3"). CR3 is a national turnaround and

 8 performance improvement firm. CR3 offers advisory services and our professionals often serve as

 9 officers to assist clients in need of crisis management and other turnaround services. I have served

10 as Chief Restructuring Officer to two companies, and as a C-level executive for other companies in

11   need of someone to help navigate crises in and out of bankruptcy.

12            3.       Subject to Court approval, Michael A. McConnell, the chapter 11 trustee (the

13 "Trustee") for the estate of HVI Cat Canyon, Inc.(the "Debtor"), will be retaining CR3 in this case.

14 I will be working as, or in a capacity similar to, a Chief Restructuring Officer.

15           4.        On October 23, 2019, the Trustee, the Trustee's proposed general bankruptcy

16 counsel (Eric P. Israel of banning, Gill, Diamond & Kollitz, LLP)and I met with certain of the

17 Debtor's representatives, including the Debtor's Chief Financial Officer, M. Ernesto Olivares. To

18 the extent we could do so in the limited time available, we examined the financial condition of the

19 i estate and expenses that the Trustee needs to pay in the very near future. Most urgently, we

20 discovered that payroll needs to be paid on October 25, but the estate does not(and will not) have

21   enough cash to cover the payroll. Available cash at this time is only $18,022.

22           5.        The Debtor's Chief Financial Officer advised that: (1) no material additional sum

23 was due the debtor on October 25, 2019, notwithstanding that the cash collateral budget projected

24 $997,550,000 would be received this week on or before that date,(2)the absolutely necessary

25 expenses which had to be paid on October 25, 2019 aggregate $331,339, including payroll, payroll

26 taxes, and royalties, and (3) CAP will owe the estate for the month of October 2019 between $1.5

27 million and $2 million. I am also informed and believe that the October 25 payroll, with taxes and

28 ~~ related expenses, will exceed $100,000.

     1564242.1 26932                                     13
Case 9:19-bk-11573-MB            Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12              Desc
                                 Main Document     Page 15 of 39



 1           6.        At the direction of the Trustee, I asked the financial advisors for UBS, AG,London

 2 Branch("UBS") whether UBS would loan funds to the estate to cover the payroll and other priority

 3 expenses. However, given the very short amount of time needed to obtain UBS's approval and to

 4 document any loan agreement, their shock at the serious shortfall of projected receipts compared

 5 with the cash collateral budget, and the very short amount of time in which the Trustee would need

 6 to prepare and file a motion for approval of any such agreement, borrowing the funds from UBS —

 7 at least in time to meet the payroll obligations —was infeasible.

 8           7.        The Trustee explored other options as well. Ultimately, California Asphalt

 9 Production, Inc.("CAP"), agreed to prepay a portion of the payment it would normally make on or

10 about November 20. This is not a loan, it is a prepayment that will be credited against whatever

11   CAP owes for sales to CAP for the month of October. Based on my discussions with Mr. Olivares,

12 I am informed and believe that CAP will owe the estate $1.5 million to $2 million for charges that

13 accrued, and are continuing to accrue, in the month of October.

14           8.        I am informed and believe that, on or about October 8, 2019, the Court entered an

15 ~ order authorizing the use of cash collateral in accordance with a budget attached to the order (the

16 "Budget"). Based on my discussions with Mr. Olivares, I identified specific items in the Budget

17 that I believe should be paid immediately from the funds to be received from CAP.

18           9.        A comparison between week 13 in the Budget and the amounts that I believe should

19 be paid immediately is attached as Exhibit "2" hereto. The amounts I believe should be paid

20 immediately are identified in the column under the heading "Reforecast Week 13."

21            10.      With respect to the line items for "Royalties" and "Escrow Royalties," these are

22 amounts that I am told are due by October 25, 2019. In the Budget, the Debtor projected that it

23 would pay $167,453 of"Royalties" during Week 9 and $31,602 of"Escrow Royalties" during

24 Week 11. I am informed and believe that these payments were not made during those weeks. I

25 believe that the Trustee should pay these amounts as soon as possible to avoid potential adverse

26 consequences of not doing so.

27

28

     1564242.1 26932                                    14
Case 9:19-bk-11573-MB             Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                   Desc
                                  Main Document     Page 17 of 39



 1                                     REQUEST FOR JUDICIAL NOTICE

2

3             Michael A. McConnell, the chapter 11 trustee (the "Trustee")for the estate of HVI Cat

4 Canyon,Inc.(the "Debtor"), requests that the Court take judicial notice of the following:

5~            1.        On July 25,2019, the Debtor filed a voluntary petition for relief under chapter 11 of

6 . title 11 ofthe United States Code.

7             2.        The Debtor filed its petition in the Southern District of New York. The case was

8 ~ transferred to the Northern District of Texas, and then to the Central District of California.

9             3.        On October 8, 2019, the Court entered its Agreed Orderfor Consensual Use ofCash

10 Collateral(the "Cash Collateral Order"). A true and correct copy ofthe Cash Collateral Order is

1 1 attached as Exhibit "3" hereto.

12            4.        Initially, the debtor operated its business as a debtor in possession, allowing it to

13 exercise substantially all rights of a trustee in the bankruptcy case.

14            5.        On October 16, 2019, the Court entered its Agreed Order Granting Motionfor

15 Appointment ofa Chapter 11 Trustee.

16            6.        On or about October 22, 2019, the Court entered an order approving the

17 appointment of Michael A. McConnell as the chapter 11 trustee for the Debtor's estate.

18

19 DATED: October 24, 2019                           DAMNING, GILL,DIAMOND & KOLLITZ,LLP

20

21
                                                     BY~         /s/John N. Tedford, IV
22                                                         JOHN TEDFORD,IV
                                                                 N.
                                                           Proposed Attorneys for Michael A. McConnell,
23                                                         Chapter 11 Trustee
24

25

26

27

28

     1 564242.l 26932                                      16
Case 9:19-bk-11573-MB   Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12   Desc
                        Main Document     Page 18 of 39




                         EXHIBIT "1"

                                                                           0017
Case 9:19-bk-11573-MB    Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12             Desc
                         Main Document     Page 19 of 39



1    ERIC P. ISRAEL (State Bar No. 132426)
     eisrael@dgdk.com
2     JOHN N. TEDFORD,IV (State Bar No. 205537)
     jtedford@dgdk,com
3    DAMNING, GILL, DIAMOND & KOLLITZ, LLP
      1901 Avenue ofthe Stars, Suite 450
4     Los Angeles, California 90067-6006
      Telephone:(310)277-0077
5     Facsimile:(310)277-5735

6 Proposed attorneys for Michael A. McConnell,
  Chapter 11 Trustee
7

8                         UNITED STATES BANKRUPTCY COURT

9                          CENTRAL DISTRICT OF CALIFORNIA

10                                  NORTHERN DIVISION

11

12                                               Case No. 9:19-bk-11573-MB

13                                               Chapter 11

14                                                ORDER GRANTING TRUSTEE'S
                                                  EMERGENCY MOTION FOR
15                                               (1) AUTHORITY TO ACCEPT A
                                                  PARTIAL PREPAYMENT OF THE
16                                                AMOUNT OWED BY CALIFORNIA
                                                  ASPHALT PRODUCTION,INC.,TO THE
17                                                ESTATE,OR IN THE ALTERNATIVE
                                                  FOR AUTHORITY TO OBTAIN
18                                               "CREDIT" IN THE FORM OF SUCH
                                                  PREPAYMENT,AND (2) WAIVER OF
19                                                ANY STAY IMPOSED BY FRBP 6004(h)

20                                               Date:    October 25, 2019
                                                 Time:    9:00 a.m.
21                                               Place:   Courtroom 303
                                                          21041 Burbank Blvd.
22                                                        Woodland Hills, California

23                                                                  - and-

24                                                        Courtroom 201
                                                          1415 State Street
25                                                        Santa Barbara, California

26

27
                                      Exhibit 1
2s
      1564245.1 26932
                                                                                  0018
Case 9:19-bk-11573-MB             Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12              Desc
                                  Main Document     Page 20 of 39



 1           On October 25, 2019, at 9:00 a.m., the Court heard and considered the Emergency Motion

2 for (1)Authority to Accept a Partial Prepayment ofthe Amount Owed by California Asphalt

3 Production, Inc., to the Estate, or in the Alternativefor Authority to Obtain "Credit" in the Form

4 ofSuch Prepayment, and(2) Waiver ofAny Stay Imposed by FRBP 6004(h)(the "Motion") filed by

5 Michael A. McConnell, the chapter 11 trustee (the "Trustee")for the estate of HVI Cat Canyon,

6 Inc.(the "Debtor"), the Honorable Martin R. Barash, United States Bankruptcy Judge, presiding.

7 Eric P. Israel of banning, Gill, Diamond & Kollitz, LLP, appeared on behalf of the Trustee; and all

8 other appearances were as noted on the record at the hearing.

9             The Court having read the Motion and its accompanying Memorandum of Points and

10 Authorities, Declaration of Tim Skillman (the "Skillman Declaration"), and Request for Judicial

1 1 Notice (docket no. ~,and the proof of telephonic notice given to parties upon which the Court

12 required the Trustee to give such notice (docket no. ~,having determined that cause exists to

13 conduct a hearing on the Motion on an emergency basis pursuant to Local Bankruptcy Rule 9075-

14 1,having determined that notice of the Motion and of the hearing was adequate and proper, having

15 determined that the relief sought by the Trustee is property characterized as a use of estate property

16 governed by 11 U.S.C. § 363 and not a credit transaction governed by 11 U.S.C. § 364, having

17 heard the statements of counsel at the hearing, for the reasons stated by the Court on the record at

18 ~! the hearing, and for good cause appearing, it is

19            ORDERED THAT:

20            1.        The Motion is granted.

21            2.        Pursuant to 11 U.S.C. § 363, the Trustee is authorized to accept approximately

22 $332,000 from California Asphalt Production, Inc.("CAP")as a partial prepayment ofthe amounts

23 that will be owed by CAP for charges that have accrued, and that are continuing to accrue, during

24 October 2019.

25            3.        In accordance with the Court's prior Agreed Orderfor Consensual Use ofCash

26 Collateral (the "Cash Collateral Order")(docket no. 375), and subject to any limitations set forth in

27 the Cash Collateral Order with respect to payments and distributions to insiders and affiliates, and

28 also subject to any limitations set forth in applicable rules and guidelines regarding compensation

     1 564245.1 26932                                     1
                                                                                              0019
Case 9:19-bk-11573-MB             Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12               Desc
                                  Main Document     Page 21 of 39



 1 paid to insiders, the Trustee is authorized to use the funds received from CAP to pay the expenses

 2 listed in Exhibit "2" to the Skillman Declaration under the heading "Reforecast Week 13."

 3            4.        Nothing in this order or the Trustee's acceptance of the partial prepayment shall

4 constitute or be deemed in any way to give rise to a waiver or release by the Trustee of any rights

 5 that the estate may have against any party with respect to the shortfall in receipts that the budget

6 attached to the Cash Collateral Order projected to be received on or before October 25, 2019.

 7,           5.        The terms and conditions of this order shall be effective and immediately

 8 enforceable upon its entry by the Clerk of the Court notwithstanding any potential application of

9 Federal Rule of Bankruptcy Procedure 6004(h) or any other statute or rule providing for a stay of

10 enforcement of this order and its terms.

11                                                    #####

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      1564245.I 26932                                     2
                                                                                               0020
Case 9:19-bk-11573-MB   Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12   Desc
                        Main Document     Page 22 of 39




                         EXHIBIT "2"

                                                                           0021
 Case 9:19-bk-11573-MB                  Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                Desc
                                        Main Document     Page 23 of 39




 HVI CAT CANYON INC.                         original
 Week 13 Budget- Reforecast                  Forecast    Reforecast
                                             Week 13      Week 13
 Estimated Beginning Cash Balance ~i~          168,507        33,800


 Cash Inflows tx~
 SMV                                          85 ,100
 Redu                                          61,283
 Belridge                                      77,167
 Total Cash Inflows                           997,550           -


 Royalties (a)                                             (118,392)   ($167,453) was projected for Week 9
 Escrow Royalties (a)                                       (27,690)   ($31,602) was projected for Week 11
 Total Cash Inflows                           997,550      (146,081)


 Cash Outflows
 Operating Expenses (s~

 Payroll Checks                                 76,000       76,000
 Payroll Taxes                                               27,431    $27,431 was projected for Week 12
 Garnishment &Child Supports                                  1,320    $1,320 was projected for Week 12
 Surface Rents
 Consultants                                     9,008        9,008
 Phones                                          2,000
 Power PG&E
 Power SoCalEdison
 Waste Management
 Water
 SouthernCalGas
 Portable Restrooms                                169
 Alarms
 Cafeteria
 Copies
 Chemicals                                      10,000        10,000
 Pumps                                          25,000        25,000
 Gasoline                                       11,500        11,500
 Transportation                                267,521
 Vacuum Trucks
 LCR                                           430,000
 Electricians                                   10,000         5,000
 Welders                                         5,000
 Supplies (Belts-Parts)                          2,000         2,000
 Parts(Compressor, Pipe, others)                 8,000         5,000
 Clean Chemical towers
 Vehicle maintenance                             8,000         8,000
 Drink Water                                       150
 Weed abatement                                  5,000         5,000
 Well Analysis                                   3,000
 Compliance
 Fire Department                                 5,000
 APCD                                            2,000
 SBP-APCD



                                           Exhibit 2
1564229_1

                                                                                                      0022
 Case 9:19-bk-11573-MB                           Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                                                        Desc
                                                 Main Document     Page 24 of 39




SBP - P&D                                                     119,843
SBP-FD
SBP-EHS
SBP -Tax
Escrow -Surface Rents
Total Operating Expenses                                      999,191                   185,258


 G&A Expenses

 Bank Charges &fees                                               100
 Insurances                                                    12,418
 Backoffice &Administrative                                   109,000
 Total G&A                                                    121,518                         -


 Growth Production Capex
 SMV
 BELRIDGE
 REDU

 Total Growth Production                                            -                         -


 Total Cash Outflows                                        1,120,709                   331,339


 Net Cash Flow                                               (123,159)                 (331,339)


 Estimated Ending Cash Balance                                  45,348                 (297,539)



(1) Estimated cumulative book bank balance in HVI's Operating, Payroll and Payroll Tax Accounts as of 10/23/19, per Ernesto Olivares. The Escrow bank account
 balance is not included in this estimate and, per E. Olivares, has a balance around $40k.


(2) Per E. Olivares, $23.8k of collections due to HVI Cat Canyon for week 13 will be remitted to HVI Cat Canyon next week.

(3) Royalties due by 10/25/19 per royalty schedule provided by E. Olivares.

(4) Escrow royalties due by 10/25/19 per royalty schedule provided by E. Olivares.

(5) Per discussions w/Alex Dimitrijevic and Ernesto Olivares, the following Operating Expenses need to be funded in order to avoid interrupting normal
operations of the Debtor.




1564229_1
                                                                                                                                                   0023
Case 9:19-bk-11573-MB   Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12   Desc
                        Main Document     Page 25 of 39




                         EXHIBIT "3"

                                                                           0024
Case 9:19-bk-11573-MB            Doc 439 Filed 10/08/19
                                                10/24/19 Entered
                                                          Entered 10/08/19
                                                                  10/24/19 16:03:54
                                                                           11:59:12           Desc
                                                                                              Desc
Case 9:19-bk-11573-MB            Doc 375  Filed
                                  Main Document     Page 26 of 39
                                                    Page 1 of 11
                                  Main Document



    1   C)'MELVENY & MYERS LLP
        Evan M. Jones(S.B.# 115$27)
    2   Brian M. Metcalf(S.B.# 205809)
        Darren L. Patrick (S.B.# 310727)
    3   400 South Hope Street, 18th Flaor
        Los Angeles, CA 90071-2899
    4   Telephone:(213)430-600
        Facsimile:(213)430-6407
    5   E-mail: ejones@omm.cam
        E-mail: bmetcalf'@omm.corn
   6    E-mail: dpatrick@omm.com

   7     Gary Svirsky(N.Y. SBN: 2899417)
         Samantha M.Indelicato {N.Y. SBN: 5598263)
    8   (appearing pro hac vice)
         Seven Tunes Squaxe
   9     New York, NY 10036
         Telephone:(212)326-2000
   10    Facsimile:(212)326-2061
         E-mail: gsvirsky@omm.com
   11   E-mail: sindelicato@omm.com

   12   Attorneysfor UBSAG,London Branch

   13
                                    UNITED STATES BANKRUPTCY COURT
   14
   15                  CENTRAL DISTRICT OF CAtiIFORNIA —NORTHERN DIVISION

   16
   17                                                      Case No. 9:19-bk-11573-MB

   18                                                      Chapter 11

   19                                                      AGREED QRDER FOR CONSENSUAL
                                                           USE OF CASH COLLATERAL
  24
                                                           Telephonic Hearing
   21                                                       Date: October 8, 2019
                                                            Time: 11:00 a.m.
  22                                                       .Place: Courtroom 202
                                                                   21041 Burbank Boulevard
   23                                                              Woodland Hills, California 91367
   24
  zs
   26             This Agreed Order for Consensual Use of Gash Collateral is entered as of October $, 2019

   27    with the express consent ofUBS AG London Branch("UBS"},the Debtor and Debtor in Possession 'I

   28   {"Debtor"), the Official Committee of Unsecured Creditors (the "Committee"), GIT, Inc., and

                                                   Exhibit 3
        09280.00001/11116519.2                                                               0025
Case 9:19-bk-11573-MB         Doc 375
                              Doc 439 Filed
                                        Filed 10/08/19
                                              10/24/19 Entered
                                                         Entered 10/08/19
                                                                 10/24/19 11:59:12
                                                                          16:03:54               Desc
                                                                                                 Desc
Case 9:19-bk-11573-MB          Main Document      Page 27 of 39
                               Main Document       Page 2 of 11



   1    Harry E. Hagen, as Treasurer-Tax Collector of the County of Santa Barbara, California ("Santa

   2    Barbara") with respect ofthe following facts:
   3           On October 4, 2019 the Court denied the Debtor's Motion for Interim and Final Orders
   4
       Pursuant to 11 U.S.C. SSA 105, 3h1, 3b2 and 363 Approving Use of Cash ('nllateral, Providing
   5
        Adequate Protection and Setting Finul Hearing Pursuant to Bankrccptcy Izule 400 [ECF Na. 11
   6
       (the "Cash Collateral Motion") and the Motion ofthe Debtor to Surcharge Collateral Pursuant to
   7
   8    11 U.S.C. ,~,¢ S06(e)and SS2(b)[ECr No.55](the "Surcharge Motion"). The Court set far hearing

   9    on October 18, 2019 any motions seeking appointment of a trustee filed in this case pursuant to a

  10    schedule set forth iay the Court on the record.
  11           The parties hereto wish to provide far use of cash collateral in anticipation of that hearing
  12
        as well as to pernut a transition period for use ofcash collateral by any trustee the Court may order
  r~
        appointed at such hearing (the "Trustee")
  14
               Based upon the evidence and pleadings adduced with regard to the Cash Collateral Motzo~
  15
  16    and Surcharge Motion,such use being found necessary to avoid immediate and serious harm to the

  17    estate and potential harm to the public health and safety as contemplated by Bankruptcy Rule
  18    4001(b), notice and opport~uiity for hearing being sufficient under the circumstances, and good
  19
        cause appearing therefore,
  20
               IT IS HEREBY ORDERED AS FOLLOWS:
  21
               1.      Use ofCash Collateral. Debtor may use Cash Collateral,on the terms and condirions
  22
  23    set forth herein,provided that the amount used.pursuant to this Order{without regard to prior arders

  24    regarding cash collateral) does not exceed $2,031,129 through October 25,2019. To the extent the

  25    Debtor holds an interest, all funds and cash investments of Debtor, including any funds on deposit
  26    at any banks or other institutions as of the Petition Date, are Cash Collateral of UBS within the
  27
        meaning of 11 U.S.C. § 363(a). In addition, all cash proceeds of the collateral (and investments
  28
                                                          - 2-
                          AGREED ORDER FOR CONSENSUAL USE OF CASH COLLATERAI,
                                                                                                0026
Case 9:19-bk-11573-MB          Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                  Desc
                                                                                                 Desc
Case 9:19-bk-11573-MB          Doc 375 Filed 10/08/19 Entered 10/08/19 16:03:54
                                Main Document
                                Main Document
                                                 Page
                                                  Page28 of 11
                                                       3 of 39
      „



   1 ~~ thereofl received after the Petition Date are Cash Collateral ofUBS within the meaning of 11 U.S.C.

       ~~ § 363(a).
   3            2.      Compliance with the Cash Collateral Budget. Except as otherwise set forth herein,
   4
         Debtor is hereby authorized to use all Cash Collateral to pay ordinary course operating expenses in
   S
       ~ accordance with the budget annexed hereto as E;~hibit 1 (including all terms and conditions set
   6
        forth therein, the "Cash Collateral Budget"), subject to a variance of ten percent {10%) of the
   7

   8    expenses set forth in the Cash Collateral Budget. To the extent amounts set forth in the Cash

   9 ~ Collateral Budget are not used in a given week, they may be spent in any subsequent week absent

  10    further Qrder ofthe Court.
  11
                3.     Limitations on Use ofCash Collateral. Debtor shall notify Huron Consulting Group
  12
       ("Huron"),        via      email      to     both      rnlcehl~a huronconsultinggroup.com        and
  13
        azughayer@huronconsultinggroup.com, of any payments that exceed $7,500 not less than 36 hours
  14
        prior to initiating such payment(a "Proposed Payment"). IfHuron does not object to the Proposed
  15

  16    Payment within 36 hours by email to the Debtar at meo@greka.com and agd~greka.com, Debtor

  17    may proceed to make such payment. Should Huron object to the Proposed Payment,such payment

  1$    sha11 not be made without fiuu~thher Order ofthe Court. The parties consent to judicial intervention
  19
        on an expedited basis to detern~ine whether such Proposed Payment may proceed. Ariy payments
  20
        to be made under the attached Cash Collateral Budget to Santa Barbara, departments or agencies
  21
        of the County of Santa Barbara, and the APCD must be approved by Huron. If approved, such
  22

  23    payments shall be made rimely in accordance with the attached Cash Collateral Budget. For the ~

  24    avoidance of doubt, no payments shall be made to GIT pursuant to this Order for preperition work

  25    or claims other than reimbursement with regard to the Debtor's employees.
  26            4.     Reporting Requirements. As a condition to use of Cash Collateral, Debtor shall ~
  27
        promptly: (i) provide to UBS and Santa Barbara a variance report reasonably acceptable to UBS
  28
                                                       - 3-
                          AGREED ORDER FOR CONSENSUAL USE OF CASH COLLATERAL
                                                                                               0027
Case 9:19-bk-11573-MB          Doc 375
                               Doc 439 Filed
                                         Filed 10/08/19
                                               10/24/19 Entered
                                                         Entered 10/08/19
                                                                 10/24/19 11:59:12
                                                                          16:03:54                 Desc
                                                                                                   Desc
Case 9:19-bk-11573-MB
      „
                                Main
                                Main Document
                                     Document      Page
                                                   Page 29
                                                        4  of
                                                           of 39
                                                              11



    1    on a weekly basis during the period for which use of Cash Collateral is permitted for this and any

   2     subsequent interim order, which shall be delivered by the Wednesday of the following weep; and
   3 (ii) comply with all additional reasonable requests of UBS, Santa Barbara, and their respective
   4
         representatives and agents.
   5
                 5.      Adequate Protection —Replacement and Additional Liens. UBS is entitled, pursuant
   6
         to 11 U.S.C. §§ 361 and 3b3(e), to adequate protection of its interests in the collateral, including
   7
   8     the Cash Collateral, for any diminution in value of its interests in the prepetition collateral,

   9     including, without limitation, any such diminution resulting from use by.Debtor of Cash Collateral

  10     and any other collateral, and the imposition ofthe automafiic stay pursuant to 11 U.S.C. § 3d2. As
  11     partial adequate protection for any diminution in value of U$S's interests in the collateral from and
  12
         after the Petition Date, effective upon the commencement ofthis case and without the necessity of
  13 '
         the execution by Debtor ar UBS of any mortgages, security agreements, pledge agreements,
  14 '
         fnancing statements or otherwise,the following replacement security interests and liens are hereby
  15
  16     granted to UBS, subject only to (i) valid and perfected non-voidable liens in existence on the

  17     Petition Date ox arising thereafter, and (ii) valid liens in existence on the Petition Date that are
  1s     perfected subsequent to the Petition Date as permitted by 1 I U.S.C. § 546(b):{a} to the full extant
  14
         of any diminution in value of UBS's prepetition collateral, a perfected first priority senior security
  20
         interest in and lien upon all cash of Debtor and any investment of the funds of Debtor, whether
  21
         existing on the Petition Date or thereafter acquired as ofthe date hereofand as ofthe Peritian Date;
  za
  23     and(b)to the full extent ofany diminution in value of UBS's prepetxtion collateral, a perfected first

  24     priority senior security interest in and lien upon all other pre- and post-petition property ofDebtor,

  25     Whether existing on the Petition Date or thereafter acquired, including, without limitation, all
  2d     accounts, cash, Cash Collateral, deposit accounts, chattel paper, instruments, documents,
  27
         investment property, supporting obligations, customer lists, letter of credit rights, inventory,
  2$
                                                         -4-
                           AGREED ORDER FOR CONSENSUAL USE OF CASH COLLATERAL
                                                                                                  0028
Case 9:19-bk-11573-MB          Doc 375
                               Doc 439 Filed
                                         Filed 10/08/19
                                               10/24/19 Entered
                                                          Entered 10/08/19
                                                                  10/24/19 11:59:12
                                                                           16:03:54               Desc
                                                                                                  Desc
Case 9:19-bk-11573-MB           Main Document      Page 30 of 39
                                Main Document      Page  5 of 11



    1   fixtures, equipment, general intangibles, goods, patents, copyrights and trademarks as well as all

   2    products and proceeds ofany ofthe foregoing and books and records relating to any ofthe foregoing
   3    and to Debtor's business and the proceeds of all of the foregoing (collectively, the "Post-Petition
   4
        Callat~x~al"}.
   5
              6.      Adequate Protection for the Use of Cash Collateral — Super~riorit, yClaim. To the
   6'
   7 ~ extent the Post-Petition Collateral granted to UBS herein does not provide adequate protection of

   S    its interests in the Cash Collateral, UBS shall have asuper-priority administrative expense claim

   9    under Secrion 507(b) ofthe Banla-uptcy Code as necessary to compensate UBS for any diminution

  10    in value ofits Collateral occurring as a result ofDebtor's use ofCash Collateral during this Chapter
  11
        11 Case {"Cash Collateral Superpriarity Claim"). The Cash Collateral Superpriority Claim shall
  12
        have priority over all administrative expenses of any kind or any subsequently filed bankruptcy
  13
        case undex any Chapter of the Bankruptcy Code in any court of competent jurisdiction, including
  14
        such administrative expenses ofthe kinds specified in, or allowable under, Secrions 105, 326, 330,
  15
  16 ' 331, 503(b), 506(c), 507(a), ar 507(b) of the Bankruptcy Code. Additionally, no: (i) costs or
  17    expenses ofadministration which have been or may be incurred(a}in the Chapter 11 Case;(b)after
  18    conversion ofthe Chapter 11 Case to a case proceeding under Chapter 7 ofthe Bankruptcy Code,
  19
        or(c)in any other proceeding related hereto; and/or(ii) priority claims as defined in Section 507(a)
  20
        ofthe Bankruptcy Cade are, or will be, prior to or partpussu with the Cash Collateral Superpriority
  21
        Claim.
  z2
  23             7.      Perfecrion ofAdequate Pratecrion Liens. UBS may,but shall not be required,to file

  24    or record financing statements, mortgages, nataces oflien, or similar inshvments in anyjurisdiction

  25    or take any other action in order to validate and perfect the security interests and liens granted to
  26    them pursuant to this Order. If UBS shall, in their sole discretion, choose to file such financing
  27
        statements, mortgages, notices of lien or similar instrwments or otherwise confum perfection of
  28
                                                        - 5-
                           AGREED ORDER FQR CONSENSUAL USE OF CASH COLLATERAL
                                                                                                0029
Case 9:19-bk-11573-MB         Doc 375
                              Doc 439 Filed
                                        Filed 10/08/19
                                              10/24/19 Entered
                                                        Entered 10/08/19
                                                                10/24/19 11:59:12
                                                                         16:03:54                Desc
                                                                                                 Desc
Case 9:19-bk-11573-MB
                               Main Document
                               Main Document      Page 31 of 39
                                                  Page 6 of 11



    ~   such security interests and liens, the liens and security interests granted herein shall be deemed

    2   perfected at the time and on the date of entry of this Order. Upon request by UBS, Debtor is

    3   authorized, without the further consent of any party, to take any actions and to execute and deliver
    4
        such instruments as maybe necessary to enAble UBS to further perfect, preserve and enforce the
    S
        security interests and liens wanted to UBS by this Order.
   6
   ~           8.      The Adequate Protection Liens granted by this Order and the Cash Collateral

    g   Superpriority Claium granted by this Order shall not attach to avoidance claims of the estate or

   9    proceeds thereof. For the avoidance of doubt, nothing in this Order sha11 prevent UBS from.

   10   ~Serting claims against or participating in such clainns ox proceeds under any other basis. Without
   11
        ~~iting the foregoing, this provision shall not be retroactive, such that nothing in the Order shall
   12
        alter or change the status of, or any limitation or agreement an, any liexa or claim against such.
   13
        avoidance actions of proceeds thereof with regard to use of collateral or Cash Collateral prior to
   14
        ~e date hereof.
  1S
   ~6          9.      Absent fixrther order of the Court or written consent of LTBS and Santa Barbara for

   17   payments specifically designatEd as a royalty payment or surface lease payment to an insider or

   ~g   affiliate, tie Debtor sha11 not make the follc~win~; payineuts: (i) arty royalty payments or surface
  19
        lease payments to insiders or affiliates ofthe Debtor or(ii) any payment oflegal fees for the Debtor
  20
        or any committee, but the Debtor shall hold such payments in an interest-bearing escrow or
  21
        segregated account. All such issues are expressly reserved for future determination. The Cash
  22
  23    Collateral Budget attached hereto includes certain items for accounting purposes only; this Order

  24    does not permit payment ofthese items under this Order. Notwithstanding anything to the contrary,

  25    Cash Collateral sha11 only be used to pay those ztems in the Cash Collateral Budget that have been
  26    specifically approved by UBS and to escrow payments as set forth above. For the avoidance of
  27
        doubt, the Dehtar has no authority to make any (i)insider or affiliate royalty payments;(ii) insider
  28
                                                       - b~-
                          AGIt~Ell ORDER FOR CONSENSUAL USE OF CASH COLLATERAL
                                                                                               0030
Case9:19-bk-11
Case 9:19-bk-11573-MB
               573-MB           Doc 375
                                Doc 439 Filed
                                          Filed 10/08/19
                                                10/24/19 Entered
                                                          Entered 10/08/19
                                                                  10/24/19 16:03:54
                                                                           11:59:12                 Desc
                                                                                                    Desc
                                 Main Document
                                 Main Document      Page 32 of 39
                                                    Page 7 of 11



   1     or affiliate surface lease payments; (iii) professional: fee payments; or (iv) other payments which

   2     are listed below the line in the Cash Collateral Budget for accounting purposes but not authorized
   3     by this Order, regardless of whether any such payments listed in (i)-(iv) axe included its the Cash
   4
         Collateral Budget.
   5 1
                 1 Q.    Authorization of use of Cash Collateral pursuant to this Order shall automatically
   6
         terminate unless a Trustee is ordered appointed by the Court on or before t7ctober 1$, 2019. For
   7
   8     the avoidance of daubi, nothing in this Order nar consent to it shall be deemed consent to ar

   9 ~ appoinlrnent ofa Trustee. All parties reserve their rights with regard to such issue.
  10             11.     By written agreer~nent, UBS may agree to waive such termination in full ox permit
  11
         only lunited use of Cash Collateral in any manner following such event. UBS may, but is not
  12
         required to, by written agreement, amend the Cash Collateral Budget to extend the date through
  13
         which Cash Collateral may be used and to increase the amount ofCash Collateral that may be used
  14
         thereunder;provided, however, that any amendment to 1:he Cash Collateral Budget made pursuant ',
  15
  16     to the authority set forth in this Order shall be subject to the fallowing conditions and limitations:

  17                    (a) any such amendment shall not a]ter the nature and types of payments that were ~
  18                        authorized under this Order;
  19
                        (b} any such amendment shall require the consent ofthe Committee;
  2d '
                        (c} any such amendment shall require the consent of Santa Barbara; and
  21
                        (d) if a Trustee is ordered and appointed, any such amendment shall require the ~
  22
                            consent of the Trustee, upon actual appainbnent of the Trustee. Upon such ~
  23
  24                        event, the consent ofthe Debtor to an amendment shall not be required.

  25     The foregoing conditions and linutations are intended to apply only to consensual changes to the ~
  26     Cash Collateral Budget that are made pursuant to the authority ofthis Order.
  27
  28
                                                          - 7-
                           AGREED ORDER FOR CONSENSUAL USE OF CASH COLLATERAI.
                                                                                                   0031
Case9:19-bk-1
Case 9:19-bk-11573-MB Doc 375
              1573-MB Doc 439 Filed
                                Filed 10/08/19
                                      10/24/19 Entered
                                                Entered 10/08/19
                                                        10/24/19 16:03:54
                                                                 11:59:12                            Desc
                                                                                                     Desc
                       Main Document
                       Main Document      Page 33 of 39
                                          Page 8 of 11



    1           12.     Upon entry of a written amendment in compliance with the foregoing, the new

   2    agreed budget shall constitute the Cash Collateral Budget for all purposes under this Order.

   3            13.     Promptly following enhy of any such amended Cash Collateral Budget, the Debtor
   4
        or Trustee, as applicable, shall promptly file notice with this Court, and provide notice ofsuch enhy
   S
        to all parties entitled to notice.
   6
   7            14.     Upon appointment ofany Trustee, the Trustee is specifically authorized to use Cash

   g    Collateral pursuant to the terms hereof. The right ofthe Trustee to seek additional or different use

   9    of Cash Collateral is specifically preserved, provided that upon filing of any such request, UBS

  10    may by written notice terminate authorization to use Cash Collateral pursuant to this Order, or may
   11
        agree to permit only use of Cash Collateral in any limited manner following such event.
   12
                I S.    All rights of the Debtor, the Trustee, and the estate to surcharge the collateral of
   13
        UBS are hereby waived with regard to any period during which Cash Collateral is used pursuant to
  14
  ~5    this Order.

   ~6           16.     Successors and Assigns. The provisions of this Order shall be binding upon UBS,

   17   Debtor, and their respective successors and assigns {including the Trustee or any other trustee

   1~   hereinafter appointed ar elected far Debtor's estaxe} and inure to the benefit of UBS and Debtor

  ~~    and (except with respect to any trustee hereinafter appointed or elected for the estate of Debtor} its
  20
        respecrive successors and assigns.
  21
                17.     Nothing in this Cash Collateral Order or the Cash Collateral Budget shall permit the
  22
  23    Debtor to violate 28 U.S.C. § 959{b), and nothing in this Cash Collateral Order or the Casb

  24    Collateral Budget shall in any way diminish the obliga~on of any entity, including the Debtor, to

  25    comply with environmental laws.

  2~            18.     Nothing in this Order shall determine or et'fect the relative priority ofany prepetition
  27
        lien orpost-petition lien, and all rights are expressly zeserved in that regard. All rights are expressly
  28
                                                          -8-
                           AGREED ORDER FOR CONSENSUAL USE OF CASH C(?LLATERAL
                                                                                                   0032
Case 9:19-bk-11573-
Case 9:19-bk-11573-MB
                    MB                 Doc 375
                                       Doc 439 Filed   10/24/19 Entered
                                                 Filed 10/08/19   Entered 10/24/19
                                                                          10/08/19 11:59:12
                                                                                   16:03:54 Desc
                                                                                            Desc
                                        Main Document
                                         Main Document     Page 34 of 39
                                                            Page 9 of 11



           r~s~r~~~il «fii[a :-L~~~4~i t~~ ~e~l~~t~~r agcy ~Yss~~ ~~ ~asl1 t~~tl~t~~~s~i i`ar anv° e.~~iit~' Ui~til`t~ttlil IJBS Rilt~ C~IsI~;

      2    ~,.~.(" u~cf this ftny ~nti~I~mt~~E tit` such c~t~ler ~t~t~               tck ad u~t~ ~a~ate.~tir~~~~, i~~l~tl n~ «~ithc~~~t

           li~it~ticart ~y~ ~~~~.r~ric~r~ty ~clta~mr,
      ~#
                                                                         #~#
      5
      i~

      7'
                                          I —"                    r



      9
   ~4f
   41
  i


  ~ ~c
  ~>
  a r~
  17
  1 ~i
      f}


  ~~


  21


  22
  23
  24
  25
      Es

  27
  2$
                                                                  -~ -
                                  f~c:~~tt.r~ t~~a~t;~c~~ cn~~r-~rs~.~L u~~ car• ~~~s~~ ~~~at.t.n~~'~ ~~~t~
                                                                                                                            0033
Case9:19-bk-11573-MB
Case 9:19-bk-11573-MB Doc
                      Doc 375
                          439 Filed
                                Filed 10/08/19
                                      10/24/19 Entered
                                                Entered 10/08/19
                                                        10/24/19 16:03:54
                                                                 11:59:12                                 Desc
                                                                                                          Desc
                       Main Document
                       Main Document      Page 35 of 39
                                          Page 10 of 11



      HVI CAT G4NYON INC.                Forecast     Forecast    Forecast    Forecast     Forecast     TdTAL
      weeks 4.13 budget                   Week 9      Week 10     Week 11      Week 12      Week 13
                                        23•Sep-19    30-Sep-19    7-Oct-19    14-Oct-19    21-Oct-19
      Beginning Cash Balance               346,221      208,341     390,529       55,716      1b8,507     346,221


      Cash inflows "
      SMV                                 200,000      254,003      36p,000     360,000      $59,100    2,033,103
      Redu                                                                                    61,283       61,283
      Belrldge                                                                                77,167       77,167
      ToWI Gsh Uiflows                    200,OQ0      254,003      360,000     36~,OW       997,550    2,171,553
 8
  9   Royalties                          (167,453}                                                       (167,453)
 10   Escrow Royalties(•*)                                         (31,602)                               (31,602)
 11   Total Cash Inflows                   3x,547      254,003     328,398      360,OOd      997,550    1,972,498
 12
 13   Cash Outflows
 14   Operating Expenses
 1S
 16   payroll Checks                       73,149          4$3      76,006                    76,000      225,632
 17   Payroll Taxes                                     26,241                   27,431                    53,672
 1$   Garnishment &Child Supports                        1,320                    1,320                     2,639
 19   Surface Rents                        41,642                   22,000                                 63,642
 20   Consultants                           9,133                    4,008                     9,008       27,148
 21   Phones                                               209       2,000        1,500        2,000        5,709
 22   Power PG&E                                                   248,OOd                                248,000
 23   Power SoCalEdison                                             25,004                                 25,440
 24   Waste Mangement                                    1,487                                              1,487
 25   Water                                   -                        624        1,276                     1,901
 26   SouthernCalGas                                        25         -             b5                        89
 77   Portable Restrooms                      -          1,694       1,196          A85          169        3,544
 28   Alarms                                                                        663          -            663
 29   Cafeteria                                            -           -            275          -            275
 30   Copies                                  -                        -            231          -            231
 31   Chemicals                                          5,655      10,000       10,000       10,g00       35,655
 32   Pumps                                 4,424        $,237      25,000       25,000       25,U0~       87,661
 33   Gasoline                                                      23,000       23,000       11,506       57,500
 34   Transpar[ation                                                                         267,521      267,521
 35   Vacuum Trucks                                                                                           -
 36   LCR                                                                                    430,000      430,000
 37   Electricians                          2,770        3,295      10,000       T0,000       10,000       36,065
 38   Welders                               1,300                    5,000        5,000        S,ODO       16,300
 39   SupR~~es(Belts-Parts)                  (663}       2,997       2,000        2,(}04       2,OQ0        8,334
 40   Parts(Compressor, Pipe, others}                    9,124       8,000        8,W0         8,t3D0      33,129
 41   Clean Chemical towers                                                       1,480          -          1,480
 42   Vehicle maintenance                                1,466       8,000        8,000        8,000       25,466
 43   Drink Water                             -                        150          -            150          300
 44   Weed abatement                                     5,116      1Q,000        5,268        5,000       25,385
 45   Well Analysis                           -                      3,000        3,OD0        3,000        9,000
 46   Compliance                            8,612                   40,000                                 48,622
 47   Fire Department                                                5,000                     5,000       10,000
 48   APCD                                                           2,OOD        2,000        2,000        6,000
 Q9   SBP - APCO(""*)                                               40,OD0      111,115                   151,115
 50   SBP - P&D('***)                                               40,000                  119,843       159,$43
 51   S8P - FD ('"**'}                                              16,440                                 16,440
 52   SBP - EHS {""""'")                                            10,475                                 10,475
 53   SBp-Tax {**•'~)                                                1,300                                  1,300
 54   Escrow -Surface Rents("`"j                                     7,500                                  7,500
 55   Total Operating Expenses            140,367       87,354     650,693     ?A7,1Q9      899,191     2,109,714
 5G
 57   G&A Expenses
 58




                                                                                                        0034
Case 9:19-bk-11573-
Case 9:19-bk-11573-MB
                    MB                 Doc 375
                                       Doc 439 Filed
                                                 Filed 10/08/19
                                                       10/24/19 Entered
                                                                 Entered 10/08/19
                                                                         10/24/19 11:59:12
                                                                                  16:03:54                                Desc
                                                                                                                          Desc
                                        Main Document
                                        Main Document      Page 36 of 39
                                                           Page 11 of 11


       Bank Charges &fees                                                            100           1Q0            100         800
 59
                                                                                  12,418                        12,418     24,836
 6Q    Insurance
                                                       30,061         4,46Q                                    109,000    143,521
 61    8ackofflce &Administrative{"'"*}
                                                       34,061         4,46Q       ],2,51$         100          121,518    168,657
 62    Total G&A
 63
 64    Growth Production Capex
 65    5MV
 66    BELRIpGE
 67    REDO
 68
 fig    Total Growth Produdian                            -             -            -             -               -          -
 70
 71    Total Cash Outflows                            170,427        71,814      663,211       247,209    1,120,709      7,273,371
 72
 73                                                  {137,880}      182,189     (334,813)      112,791     (123,159)     (300,873}
       Net Cash Flow
 74
 75    Ending Cash Balance                            208,341      390,529        55,716      1fi8,507         45,348      45,348
 76
       (*)Forecast dependent on actual del(vered barrels and price
       (*~} Escrow offunds as directed under Interim Cash Collateral drder
       {""*)Only payments for reimbursement of Hvl employee expenses appoved under the Cash Collateral Order
        ~rr•M~ payments to SBA authorities accelerated from orfgfnal budget proposal




                                                                                                                         0035
        Case 9:19-bk-11573-MB                   Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                                     Desc
                                                Main Document     Page 37 of 39



                                        PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND TRUSTEE'S
EMERGE__NCY MOTION FOR (1) AUTHORITY TO ACCEPT A PARTIAL PREPAYMENTOF THE AMOUNT OWED BY
CALIFORNIA ASPHALT PRODUCTION INC. TO THE ESTATE OR IN THE ALTERNATIVE FOR AUTHORITY TO
OBTAIN "CREDIT' IN THE FORM OF SUCH PREPAYMENT, AND (2) WAIVER OF ANY STAY IMPOSED BY FRBP
6004(h); AND MEMORANDUM OF POINTS AND AUTHORITIES, DECLARATION OF TIME SKILLMAN, AND REQUEST
FOR JUDICIAL NOTICE IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF1: Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 October 24, 2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                       D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) October 24, 2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                       ❑ Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 24, 2019 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Messenger: ProLegal —10/24/19                                            Via FedEx Priority Overnight
The Honorable Martin R. Barash                                               Debtor
U.S. Bankruptcy Court, Courtroom 303                                         HVI Cat Canyon, Inc.,
Bin on 1st Floor outside entry to Intake Section                             2617 Clark Avenue
21041 Burbank Blvd.                                                          Santa Maria, CA 95454
Woodland Hills, CA 91367

                                                                                        ❑ Service information continued on attached page.

 declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 October 24, 2019                         Patricia Morris                                      /s/Patricia Morris
 Date                                     Printed Name                                         Signature


1564260.1 26932 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
        Case 9:19-bk-11573-MB                   Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                                     Desc
                                                Main Document     Page 38 of 39



                                                ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")

   • Alan H Katz on behalf of Interested Party CTS Properties, Ltd. akatz@lockelord.com
   • Alicia Clough on behalf of Creditor California State Lands Commission
     aclough@loeb.com, mnielson@loeb.com,ladocketc~loeb.com
   • Brian D Fittipaldi on behalf of U.S. Trustee United State: Trustee
     brian.fittipaldic~usdoj.gov
   • Brian L Holman on behalf of Creditor Bradley Land Company b.holmanc~musickpeeler.com
   • Brian M Metcalf on behalf of Interested Party UBS AG, London Branch
     bmetcalf@omm.com
   • Christopher D Sullivan on behalf of Creditor Diamond McCarthy LLP
     csullivanQdiamondmccarthy.com,
     mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com
   • Daniel A Solitro on behalf of Interested Party CTS Properties, Ltd.
     dsolitroClockelord.com, ataylor2@lockelord.com
   • Darren L Patrick on behalf of Interested Party UBS AG, London Branch
     dpatrick@omm.com, darren-patrick-1373c~ecf.pacerpro.com
   • David L Osias on behalf of Creditor Allen Matkins Leck Gamble Mallory & Natsis LLP
     dosiasC~allenmatkins.com, bcrfilingsC~allenmatkins.com,kdemorestC~allenmatkins.com,
     csandoval@allenmatkins.com
   • Don Fisher on behalf of Interested Party Interested Party dfisher@ptwww.com,
     tblackc~ptwww.com
   • Emily Young on behalf of Creditor Epiq Corporate Restructuring, LLC Claims Agent
     pacerteamCgardencitygroup.com, rjacobs@ecf.epigsystems.com;ECFInboxC~epigsystems.com
   • Fred Whitaker on behalf of Interested Party Eller Family Trust
     lshertzer@cwlawyers.com
   • Gisele M Goetz on behalf of Interested Party Courtesy NEF gmgoetz@hbsb.com,
     ggoetz@collegesoflaw.edu
   • H Alexander Fisch on behalf of Interested Party California Regional Water Quality
     Control Board, Central Coast Alex.FischC~doj.ca.gov
   • H Alexander Fisch on behalf of Interested Party California Department of Fish &
     Wildlife Alex.Fisch@doj.ca.gov
   • Ira S Greene on behalf of Interested Party CTS Properties, Ltd.
         Ira.Greenec~lockelord.com
    •    Jeannie Kim on behalf of Interested Party Pacific Gas and Electric Company
         jkim@friedmanspring.com
    •    Jeffrey N Pomerantz on behalf of Creditor Committee Official Committee of Unsecured
         Creditors jpomerantzc~pszjlaw.com
    •    Jennifer Taylor on behalf of Interested Party UBS AG, London Branch jtaylor@omm.com
    •    John C Keith on behalf of Creditor California State Lands Commission
         john.keithc~doj.ca.gov
    •    Karen L Grant on behalf of Creditor BUGANKO, LLC kgrant@silcom.com
    •    Karl J Fingerhood on behalf of Interested Party United States of America on behalf
         of USEPA and US Coast Guard karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov
    •    Marc S Cohen on behalf of Creditor California State Lands Commission
         mscohen@loeb.com, klyles@loeb.com
    •    Matthew C. Heyn on behalf of Creditor Department of Conservation, Division of Oil,
         Gas and Geothermal Reources Matthew.HeynCdoj.ca.gov, mcheynCoutlook.com
    •    Michael L Moskowitz on behalf of Debtor HVI Cat Canyon, Inc. mlmC~weltmosk.com,
         jgC~weltmosk.com;aw@weltmosk.com
    •    Mitchell E Rishe on behalf of Creditor California Department of Conservation,
         Division of Oil, Gas & Geothermal Resources mitchell.rishe@doj.ca.gov
1564260.1 26932 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
        Case 9:19-bk-11573-MB                   Doc 439 Filed 10/24/19 Entered 10/24/19 11:59:12                                     Desc
                                                Main Document     Page 39 of 39



   •    Mitchell E Rishe on behalf of Creditor Department of Conservation, Division of Oil,
        Gas and Geothermal Reources mitchell.rishe~doj.ca.gov
   •    Patricia B Tomasco on behalf of Creditor GIT, Inc. pattytomasco~quinnemanuel.com,
        barbarahowell@quinnemanuel.com;cristinagreen@quinnemanuel.com
   •    Razmig Izakelian on behalf of Creditor GIT, Inc. razmigizakelian~quinnemanuel.com
   •    Ross Spence on behalf of Interested Party Santa Barbara Air Pollution Control
        District ross@snowspencelaw.com, janissherrill~snowspencelaw.com;
        donnasutton~enowapencelaw.com; brittanyDecoteau~snowspencelaw.com
   •    Ross Spence on behalf of Interested Party County of Santa Barbara, California
        ross@snowspencelaw.com, janissherrill@snowspencelaw.com;
        donnasutton@snowspencelaw.com; brittanyDecoteau@snowspencelaw.com
   •    Ross Spence on behalf of Interested Party Harry E. Hagen, as Treasurer-Tax
        Collector of the County of Santa Barbara, California ross@snowspencelaw.com,
        janissherrill~snowspencelaw.com; donnasutton@snowspencelaw.com;
        brittanyDecoteau@snowspencelaw.com
   •    Salina R Thomas on behalf of Interested Party Courtesy NEF bankruptcy@co.kern.ca.us
   •    Salina R Thomas on behalf of Interested Party Kern County Treasurer Tax Collector
        bankruptcy~co.kern.ca.us
   •    Todd C. Ringstad on behalf of Interested Party Interested Party
        becky@ringstadlaw.com, arlene@ringstadlaw.com
   •    William C Beall on behalf of Creditor GLR, LLC will@beallandburkhardt.com,
        carissa@beallandburkhardt.com




1564260.1 26932 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
